            Case 2:17-cv-02211-KJM-CKD Document 1 Filed 10/23/17 Page 1 of 6


     SCOTT J. SAGARIA (BAR # 217981)
1    sjsagaria@sagarialaw.com
     ELLIOT W. GALE (BAR #263326)
2    egale@sagarialaw.com
     JOE B. ANGELO (BAR #268542)
3    jangelo@sagarialaw.com
     SCOTT M. JOHNSON (BAR #287182)
4    sjohnson@sagarialaw.com
     SAGARIA LAW, P.C.
5    3017 Douglas Blvd., Ste. 100
     Roseville, CA 95661
6    408-279-2288 ph
     408-279-2299 fax
7
     Attorneys for Plaintiff
8    Javier Contreras
9                                     UNITED STATES DISTRICT COURT
10
                 EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION
11

12                                                CASE NO.
     Javier Contreras,
13

14                             Plaintiff,         PLAINTIFF’S COMPLAINT FOR DAMAGES:
15          v.
                                                     1. Violation of the Rosenthal Fair Debt
16                                                      Collection Practices Act
     PayPal, Inc., and DOES 1 through 100            2. Violation of the Telephone Consumer
17   inclusive,                                         Protection Act
18                             Defendants.
19
            COMES NOW Plaintiff Javier Contreras, an individual, based on information and belief,
20
     to allege as follows:
21
                                             INTRODUCTION
22
        1. This is an action for damages brought by an individual consumer for Defendant’s
23
     violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §1788, et seq.
24
     (hereinafter “Rosenthal Act”), which prohibits debt collectors from engaging in abusive,
25
     deceptive, and unfair practices and violation of the Telephone Consumer Protection Act 47
26
     U.S.C. §227, et seq. (hereinafter “TCPA”), which prohibits the use of automated dialing
27
     equipment when making calls to consumers.
28

                                                     1
              Case 2:17-cv-02211-KJM-CKD Document 1 Filed 10/23/17 Page 2 of 6



1        2. Plaintiff brings this action against Defendant Paypal, Inc. (hereinafter “PayPal”) for its
2    abusive and outrageous conduct in connection with debt collection activity.
3        3. In Calif. Civil Code § 1788.1(a)-(b), the California Legislature made the following
4    findings and purpose in creating the Rosenthal Act:
            (a)(1) The banking and credit system and grantors of credit to consumers are dependent
5
            upon the collection of just and owing debts. Unfair or deceptive collection practices
6           undermine the public confidence which is essential to the continued functioning of the
            banking and credit system and sound extensions of credit to consumers.
7
              (2) There is need to ensure that debt collectors and debtors exercise their
8
              responsibilities to another with fairness and honesty and due regard or the rights of the
9             other.

10            (b) It is the purpose of this title to prohibit debt collectors from engaging in unfair or
              deceptive acts of practices in the collection of consumer debts and to require debtors to
11
              act fairly in entering into and honoring such debts, as specified in this title.
12
         4. While may violations are described below with specificity, this Complaint alleges
13
     violations of the statutes cited in their entirety.
14
         5. The TCPA was designed to prevent calls like the ones described herein, and to protect
15
     the privacy of citizens like Plaintiff, and by enacting the TCPA, Congress intended to give
16   consumers a choice as to how corporate entities may contact them and to prevent the nuisance
17   associated with automated or prerecorded calls.
18
                                        JURISDICTION & VENUE
19
         6. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 47 U.S.C. §
20
     227.
21
         7. This venue is proper pursuant to 28 U.S.C. §1391(b).
22
                                       GENERAL ALLEGATIONS
23       8.   Plaintiff Javier Contreras (hereinafter “Plaintiff”) is an individual residing in the state
24   of California, and is a “debtor” as defined by Cal. Civ. Code §1788.2(g).

25       9.   At all relevant times herein, Defendant PayPal engaged, by the use of mail, email, and
     telephone, in the business of collecting a debt from Plaintiff, and a “consumer debt,” as defined
26
     by Cal. Civ. Code §1788.2(f).
27

28

                                                           2
             Case 2:17-cv-02211-KJM-CKD Document 1 Filed 10/23/17 Page 3 of 6


         10. At all relevant times, Defendant PayPal acted as a “debt collector” within the meaning
1
     of Cal. Civ. Code §1788.2(c)
2
         11. Plaintiff had taken out an unsecured loan with PayPal in 2016.
3
         12. The loan Plaintiff took from Defendant PayPal was extended primarily for personal,
4
     family or household purposes and is therefore a “debt” as that terms is defined by the Calif.
5
     Civil Code § 1788.2(d) of the Rosenthal Act.
6        13. Defendant PayPal has been attempting to collect on a debt that originated from
7    monetary credit that was extended primarily for personal, family, or household purposes, and
8    was therefore a “consumer credit transaction” within the meaning of Calif. Civil Code §
9    1788.2(3) of the Rosenthal Act.

10
         14. Because Plaintiff, a natural person allegedly obligated to pay money to Defendant
     PayPal arising from what Plaintiff is informed and believes was a consumer credit transaction,
11
     the money allegedly owed was a “consumer debt” within the meaning of California Civil Code
12
     § 1788.2(f) of the Rosenthal Act.
13
         15. Plaintiff is informed and believes that Defendant is one who regularly collects or
14
     attempts to collect debts on behalf of themselves, and is therefore a “debt collector” within the
15
     meaning of the Calif. Civil Code § 1788.2(c) of the Rosenthal Act, and thereby engages in
16   “debt collection” within the meaning of the California Civil Code § 1788.2(b) of the Rosenthal
17   Act, and is also therefore a “person” within the meaning of California Civil Code § 1788.2(g)
18   of the Rosenthal Act.
19       16. Plaintiff’s account was an unsecured loan and Plaintiff began making payments on the

20
     accounts.
         17. Plaintiff began making payments on the loan before he became financially unable to
21
     keep up with the monthly payments.
22
         18. Defendant PayPal began contacting Plaintiff in July of 2017 to inquire about the
23
     status of the loan and to collect on the payments that were no longer being made.
24
         19. Plaintiff retained counsel to assist in dealing with PayPal debt and to seek some type
25
     of financial relief.
26       20. Counsel for Plaintiff sent Defendant PayPal a letter confirming representation of
27   Plaintiff and that Defendant was to no longer contact Plaintiff directly and that all
28   calls/letters/collection efforts were to no longer be directed at Plaintiff.

                                                        3
             Case 2:17-cv-02211-KJM-CKD Document 1 Filed 10/23/17 Page 4 of 6


        21. Counsel for Plaintiff sent the letter of representation to PayPal on or about August 1,
1
     2017.
2
        22. Plaintiff, through counsel, informed PayPal that he was revoking his consent, if it was
3
     ever previously given, to be called on his telephone in August of 2017.
4
        23. Plaintiff denies he ever gave his express consent to be contacted on his cellular
5
     telephone by automatic dialing machines and pre-recorded messages.
6       24. Defendant PayPal continued to contact Plaintiff between approximately August 4,
7    2017 – at least August 10., 2017; the type of contact was through phone calls to Plaintiff on his
8    cellular telephone.
9       25. Despite the notice being sent, Defendant continued to contact Plaintiff on his cellular

10
     telephone regarding collection of his outstanding debt.
        26. Plaintiff was contacted frequently regarding non-payment of the debt owed to PayPal
11
     despite PayPal being notified that Plaintiff had retained counsel to deal specifically with the
12
     debt owed to PayPal.
13
        27. PayPal ’s calls were frequent in nature and continued despite receiving written
14
     confirmation that Plaintiff was represented by an attorney.
15
                                      FIRST CAUSE OF ACTION
16                                    (Violation of the Rosenthal Act)
                                     (Cal. Civ. Code §§ 1788-1788.32)
17                                  (Against Defendant and Does 1-100)

18      28. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
19   above as though fully set forth herein.
20      29. Plaintiff provided written notice that he was represented by sending Defendant a letter

21
     with the name, address, and contact information of his attorney and informed Defendant that he
     was represented.
22
        30. Defendant continued to call and attempt to make contact with Plaintiff despite receiving
23
     notice of representation and being informed that Plaintiff had retained counsel in an effort to deal
24
     with the debt that was owed to Defendant.
25
        31. The calls and communications made by Defendant to Plaintiff were not related to
26
     statements of Plaintiff’s account and were attempts to collect a debt.
27      32. Plaintiff received frequent calls from PayPal from at least August 4, 2017 – August 10,
28   2017.
                                                      4
            Case 2:17-cv-02211-KJM-CKD Document 1 Filed 10/23/17 Page 5 of 6


        33. Defendant violated Cal. Civ. Code §1788.14 by contacting Plaintiff after receiving
1
     noticed that Plaintiff had retained an attorney.
2
                                     SECOND CAUSE OF ACTION
3                                         (Violation of the TCPA)
                                               (47 USC § 227)
4                                    (Against Defendant and Does 1-100)
5
        34. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
6
     above as though fully set forth herein.
7       35. Since at least August of 2017 Defendant started calling Plaintiff’s cellular telephone
8    requesting that payment be made on the account Plaintiff held with Defendant.
9       36. Plaintiff informed Defendant that he was revoking consent to be contacted by PayPal

10   in early August of 2017.

11
        37. PayPal continued to call Plaintiff frequently since Plaintiff withdrew his consent to be
     contacted by an automatic dialing machine.
12
        38. Defendant would contact Plaintiff frequently each day regarding payment on the
13
     accounts.
14
        39. Defendant placed the above cited calls using an artificial or prerecorded voice to deliver
15
     the collection messages without Plaintiff’s prior express consent.
16
        40. Defendant contacted Plaintiff on multiple separate occasions after Plaintiff informed
17   Defendant he did not wish to be contacted on his cellular telephone and withdrew any prior
18   consent that may have been given.
19      41. All calls placed by Defendant to Plaintiff utilized an “automatic telephone dialing

20   system” as defined by 47 U.S.C. §227(a)(1).

21
        42. These calls were made to Plaintiff’s cellular telephone and were not calls for an
     emergency purposed as defined by 47 U.S.C. §227(b)(1)(B).
22

23      43. Plaintiff was contacted at least 21 (twenty one) times by Defendant after consent was

24   revoked to be called on his cellular telephone by an automatic telephone dialing machine.
        44. These telephone calls by Defendant, or its agent, violated 47 U.S.C. §227(b)(1)(B).
25

26                                       PRAYER FOR RELIEF
27   WHEREFORE, Plaintiff prays for judgment as follows:
28               a. An award of actual damages pursuant to California Civil Code §1788.30(a), as

                                                        5
            Case 2:17-cv-02211-KJM-CKD Document 1 Filed 10/23/17 Page 6 of 6


                    will be proven at trial, which are cumulative and in addition to all other
1
                    remedies provided for in any other cause of action pursuant to California Civil
2
                    Code §1788.32.
3
                b. An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
4
                    §1788.30(b), which are cumulative and in addition to all other remedies
5
                    provided for in California Civil Code §1788.32; and
6               c. An award of costs of litigation and reasonable attorney’s fees pursuant to Cal.
7                   Civ. Code §1788.30(c).
8               d. An award of statutory damages of $1,500.00 pursuant to 47 U.S.C.
9                   §227(b)(3)(C) for each and every violation.

10
                e. Pursuant to 47 U.S.C. §227(b)(3)(A), injunctive relief prohibiting such conduct
                    in the future.
11
                f. Pursuant to 15 U.S.C. 1692(k) both actual damages and statutory damages in an
12
                    amount to be proven at trial.
13
                                                          SAGARIA LAW, P.C.
14   Dated: October 23, 2017                        By:   /s/ Scott Johnson
                                                          Scott Sagaria, Esq.
15
                                                          Scott Johnson, Esq.
16                                                        Attorneys for Plaintiff

17                                   DEMAND FOR JURY TRIAL
18
            Plaintiff hereby demands trial of this matter by jury.
19                                                         SAGARIA LAW, P.C.
     Dated: October 23, 2017                               /s/ Scott Johnson
20                                                         Scott Sagaria, Esq.
21
                                                           Scott Johnson, Esq.
                                                           Attorneys for Plaintiff
22

23

24

25

26

27

28

                                                      6
